                     Case 1:20-cv-01365-JMC Document 17 Filed 06/30/20 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                             __________ District of __________


                   David O'Connell, et al.                     )
                             Plaintiff                         )
                                v.                             )      Case No. 1:20-CV-01365-KBJ
      United States Conference of Catholic Bishops             )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

        David O'Connell and the putative class                                                                                             .


Date:            6/30/20                                                                   /s/ Martin Woodward
                                                                                              Attorney’s signature

                                                                           Martin Woodward - TX Bar No. 00797693 (admitted pro hac vice)

                                                                                        Printed name and bar number
                                                                                          Stanley Law Group
                                                                                      6116 N. Central Expressway
                                                                                              Suite 1500
                                                                                           Dallas, TX 75206
                                                                                                    Address

                                                                                 mwoodward@stanleylawgroup.com
                                                                                                E-mail address

                                                                                                214-443-4304
                                                                                               Telephone number

                                                                                                214-443-4304
                                                                                                  FAX number
